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STATE OF NEW MEXICO

COUNTY OF SANDOVAL 18 aN I
THIRTEENTH JUDICIAL DISTRICT 709 AVE
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Case No. D1329CV200701307 THERES! VM oy
_DeP

WELLS FARGO BANK, N.A., Bt.
Plaintiff,

VS.

DANA E. JARVIS; UNITED STATES OF AMERICA; OCCUPANTS, WHOSE TRUE
NAMES ARE UNKNOWN; THE UNKNOWN SPOUSE OF DANA E. JARVIS, IF ANY,
Defendant(s).

NOTICE OF DELAY IN PUTTING CASE AT ISSUE

PLEASE TAKE NOTICE that as of July 30, 2009, Plaintiff and Defendant United States
of America are reviewing the viability of accepting a Marshal’s Deed from the United States of
America for the subject property in lieu of foreclosure for the subject property. Defendant Jarvis
has entered into a plea agreement with Defendant United States of America in a criminal case
currently pending in the United States District Court, Criminal Case No. 05-1879 JH wherein
Defendant Jarvis has forfeited the property which is the subject of this foreclosure action to the
United States of America. United States of America has offered to relinquish all interest in the
Subject property by tender of a Marshal’s Deed for the subj ect property. Plaintiff is in the
process of reviewing and considering the United States of America’s offer. Upon conclusion of
Plaintiff's review of the United States of America’s offer and in the event of Plaintiff's

acceptance of such offer, the Plaintiff will dismiss the above-captioned action.

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Respectfully Submitted,
CASTLE MEINHOLD & STAWIARSKI

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enae Richards Chaney)
Keya Koul

999 18th St., Suite 2201, Bin 1
Denver, CO 80202
800/286-0013; 303/285-22.
Attorney for Plaintiff

CERTIFICATE OF MAILING

Thereby certify that a true and correct copy of the above and foregoing Notice of Delay
Putting Case at Issue has been forwarded by First Class U.S. Mail, postage prepaid, on this17th
day of August, 2009, to:

Dana Jarvis

P.O. Drawer 837
Estancia, NM 87016
Pro Se Defendant

Manuel Lucero
Cynthia Weissman
Assistant United States Attorneys
United States Attorney’s Office
201 Third Street NW Suite 900
Albuquerque, NM 87103
_ Attorneys for Defendant United States of America

Jacquéline 4. Strain

55-3144 /farvis, Dana

